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Name and address:

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Beverly Hills, CA $0212

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

Bureau of Consumer Financial Protection CASE NUMBER:
2:19-cv-07722
¥. PLAINTIFF(S)
Certified Forensic Loan Auditors, LLC; Andrew Lehman and
Michael Carrigan NOTICE OF APPEARANCE OR
WITHDRAWAL OF COUNSEL
DEFENDANT(S)
INSTRUCTIONS

Appearance of Counsel:

Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)

Withdrawal of Counsel:

This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.

Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
Counsel" (Form G-01) rather than this “Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.

SECTION I - IDENTIFYING INFORMATION

Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Maryam Atighechi CA Bar Number: 249318
Firm or agency: Atighechi Law Group
Address: 9465 Wilshire Blvd, Suite 300, Beverly Hills, CA 90212

Telephone Number: 424-284-4258 Fax Number: 310-773-4541

 

 

Email: maryam@familylaw-firm.com

Counsel of record for the following party or parties: Certified Forensic Loan Auditors and Andrew Lehman

 

 

 

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SECTION II - TO ADD AN ATTORNEY TO THE DOCKET

Please select one of the following options:

O

O

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O

The attorney listed above has already appeared as counsel of record in this case and should have been added to the
docket. The date of the attorney's first appearance in this case:

The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
this attorney's firm or agency have previously appeared in the case.

The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
of this attorney's firm or agency have previously appeared in the case.

By order of the court dated in case number (see attached
copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.

This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML”) pursuant to 28
U.S.C. § 1407 from the District of where it was assigned case number

. The attorney listed above is counsel of record in this case in the transferee district, and is
permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
admission to practice pro hac vice and without the appointment of local counsel.

On the attorney listed above was granted permission to appear in this case pro hac vice
before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
the District Court.

 

 

In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:

[]USAO []FPDO [] CJA Appointment [] Pro Bono [] Retained

SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET

Notices of Electronic Filing will be terminated. Please select one of the following options:

UO

O

UO

The attorney named above has already been relieved by the Court as counsel of record in this case and should
have been removed from the docket. Date of the order relieving this attorney:

 

Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
party or parties indicated.

(Note: if you are removing yourself from the docket of this case as a result of separating from a firm or agency, you
should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 (“Notice of Change of Attorney Business or Contact
Information”), concerning your obligations to notify the Clerk and parties of changes in your business or contact
information.)

The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
filing. Date party was dismissed:

 

The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
filed:

 

SECTION IV_- SIGNATURE

I request that the Clerk update the docket as indicated above.

Date; October 1, 2019 Signature: {O..—

Name: Maryam Atighechi

 

 

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